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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT STOUD                           CIVIL ACTION
324 Maple Street
Montrose, PA 18801

           Plaintiff                   No.

     v.                                JURY TRIAL DEMANDED

SUSQUEHANNA COUNTY
P.O. Box 218
31 Lake Avenue
Montrose, PA 18801

COMMISSIONER
ELIZABETH ARNOLD
P.O. Box 218
31 Lake Avenue
Montrose, PA 18801

COMMISSIONER
MARYANN WARREN
P.O. Box 218
31 Lake Avenue
Montrose, PA 18801


                                       (Electronically Filed)
           Defendants
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                                  COMPLAINT

      The Plaintiff, Robert Stoud, by and through his counsel, Mazzoni, Karam,

Petorak, and Valvano, hereby complains of the Defendants, Susquehanna County,

Commissioner Elizabeth Arnold, and Commissioner MaryAnn Warren (hereinafter

“Defendants”), as follows:

                                   Introduction

   1. Plaintiff, (hereinafter “Plaintiff” or “Stoud”), initiates this action to seek

      redress against the Defendants, his employer, for a hostile work environment

      and retaliation, in violation of Title VII of the Civil Rights Act of 1964, as

      amended, 42 U.S.C. §2000e et seq. (“Title VII”), the Pennsylvania Human

      Relations Act, 43 P.S. § 951 et seq. (“PHRA”), and other applicable federal

      and state law.

                                      Parties

   2. Plaintiff, Robert Stoud, is an adult, competent individual who currently

      resides at 324 Maple Street, Montrose, Pennsylvania.

   3. Defendant, Susquehanna County, is a municipality organized by and through

      the Commonwealth of Pennsylvania that regulates and implements customs,

      policies, and practices and that directs, manages, and controls the customs,

      policies, practices, and employees of Susquehanna County. At all times
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  relevant hereto, Defendant Susquehanna County was acting under color of

  state law.

4. Defendant, Commissioner Elizabeth Arnold, is a Susquehanna County

  Commissioner, who is/was employed by Defendant Susquehanna County, is

  and/or was under the command and authority of Defendant Susquehanna

  County, and who regulated and implemented customs, practices, and

  policies of Defendant Susquehanna County. At all times relevant hereto,

  Defendant Arnold was acting under color of state law and pursuant to the

  custom, policy, and/or practice of Defendant Susquehanna County.

  Defendant Arnold is being sued in her individual, supervisory, and all other

  official capacities as Commissioner.

5. Defendant, Commissioner MaryAnn Warren, is a Susquehanna County

  Commissioner, who is/was employed by Defendant Susquehanna County, is

  and/or was under the command and authority of Defendant Susquehanna

  County, and who regulated and implemented customs, practices, and

  policies of Defendant Susquehanna County. At all times relevant hereto,

  Defendant Warren was acting under color of state law and pursuant to the

  custom, policy, and/or practice of Defendant Susquehanna County.

  Defendant Warren is being sued in her individual, supervisory, and all other

  official capacities as Commissioner.
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6. Defendant, Susquehanna County, is an “employer” within the meaning of

   Title VII and the PHRA.

7. At all relevant times, Defendant Susquehanna County acted or failed to act

   through its agents, employees and servants, each of whom was in the scope

   of their employment with Defendant Susquehanna County.

                           Jurisdiction and Venue

8. The Court has personal jurisdiction over the Defendants because the

   Defendants’ contacts with this state and this judicial district are sufficient for

   the exercise of jurisdiction over the Defendants.

9. The subject-matter jurisdiction of this Court is invoked pursuant to the

   provisions of 28 U.S.C. §§ 1331 and 1343 because this action arises under

   the laws of the United States and Plaintiff seeks redress for violations of

   civil rights, and pursuant to the provisions of 28 U.S.C. §1367 as to

   Plaintiff’s state law claims under the PHRA, by means of supplemental

   jurisdiction.

10.Venue is proper in this judicial district because all or a substantial part of the

   events and omissions giving rise to the claims occurred in this district and

   because Defendant conducts business in this judicial district.
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                 Procedural and Administrative Remedies

11. All of the allegations contained in the foregoing paragraphs of this

   Complaint are incorporated herein by reference as if the same were set forth

   at length.

12.Plaintiff has complied with all statutory prerequisites to the filing of this

   action by timely filing a charge with the Equal Employment Opportunity

   Commission (“EEOC”), requesting and receiving from the EEOC a Notice

   of Right to Sue and timely filing this action within ninety (90) days of the

   receipt of said EEOC Notice.

13. Plaintiff exhausted his administrative remedies as to the allegations of the

   instant Complaint.

                             Factual Background

14. All of the allegations contained in the foregoing paragraphs of this

   Complaint are incorporated herein by reference as if the same were set forth

   at length.

15. Plaintiff was hired in September 2012 as Susquehanna County Emergency

   Management Coordinator.

16. In December 2012, Plaintiff was given a new position, Director of Public

   Safety for Susquehanna County.
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17. In June 2014, Plaintiff was promoted to Acting Chief Clerk of Susquehanna

   County and became the Chief Clerk in January 2016.

18. In December 2015, Plaintiff was contacted by his Administrative Assistant,

   Maggie McNamara, regarding an incident of unwanted advances by

   Susquehanna County Director of Veterans Affairs Richard Ely (“Ely”).

19. McNamara alleged that Ely, after work, leaned into her open car window

   and made improper advances towards her.

20. Stoud reported this incident to the Defendant Commissioners and issued Ely

   a written reprimand.

21. Following the reporting of this incident, Plaintiff noticed an increasing and

   constant harassment of McNamara by the Commissioners.

22. Plaintiff also found himself subject to harassment and retaliation after

   reporting the McNamara incident.

23. In May 2016, Plaintiff informed Susquehanna Commissioner Alan Hall

   (“Commissioner Hall”) that he believed he was facing retaliation for

   defending McNamara from the harassment she was receiving.

24. The retaliatory and harassing actions against Plaintiff included, but were not

   limited to, personal and derogatory comments made against him by

   Defendant Commissioner Arnold and Defendant Commissioners Arnold and

   Warren undermining his authority as Chief Clerk.
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25.On or about June 7, 2016, Plaintiff again complained to Defendant

   Commissioners of a hostile work environment due to Defendant

   Commissioners Arnold and Warren again making personal and derogatory

   comments about him and the two intimating he was conducting an improper

   relationship with a co-worker.

26. That same day, June 7, 2016, Defendant Commissioner Arnold confronted

   Plaintiff informing Plaintiff she was unhappy that Plaintiff made the hostile

   work environment complaint. After this meeting, Defendant Commissioner

   Arnold went to another employee and indicated she wanted Plaintiff fired.

27.Following the meeting of June 7, 2016, Plaintiff was instructed by

   Defendant Commissioners to conduct “write-ups” of both himself and

   McNamara and was informed that if Plaintiff did not comply, McNamara

   would be terminated immediately. Plaintiff completed these write-ups

   under duress.

28. On June 22, 2016, Defendant Commissioner Arnold again, for at least the

   third time, implied Plaintiff was involved in an inappropriate relationship

   with a co-worker.

29. On July 13, 2016, Defendant Commissioner Arnold informed

   Commissioner Hall that she wanted to eliminate the Director of Public
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   Safety Position that Plaintiff intended to return to after serving as Chief

   Clerk.

30. Plaintiff submits that this decision by Defendant Commissioner Arnold was

   personal and retaliatory towards Plaintiff.

31. On or about October 26, 2016, Defendant Commissioner Arnold, with

   Defendant Commissioner Warren present, entered Plaintiff’s office and

   engaged in an unprovoked verbal attack on Plaintiff. Other employees

   witnessed said attack and Plaintiff documented the incident in a letter to all

   Commissioners.

32. Puzzlingly, after this incident, Defendant Commissioner Arnold demanded

   an apology from Plaintiff. When Plaintiff refused, Defendant Commissioner

   Arnold slammed the door to Plaintiff’s office.

33. The October 26th incident was documented by Plaintiff with letters to the

   Commissioners and their solicitor.

34. Plaintiff was then ordered by Commissioner Hall and Defendant

   Commissioner Warren to have the County HR Director with Plaintiff at all

   times when Plaintiff interacted with Defendant Commissioner Arnold.

35. On or about October 31, 2016, Defendant Commissioner Arnold was

   informed via letter from Commissioners Hall and Warren that Arnold’s
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   actions towards Plaintiff were harassing and retaliatory and must stop

   immediately.

36. On or about January 9, 2017, Defendant Commissioners Warren and

   Arnold, in violation of county policy, demanded to view all emails between

   Plaintiff and McNamara since McNamara left her assistant position for a

   position in the Susquehanna County District Attorney’s Office.

37. Plaintiff submits that Defendant Commissioners Warren and Arnold wanted

   to review the aforesaid emails for personal, retaliatory, and harassing

   reasons.

38.On or about April 3, 2017, Defendant Commissioner Arnold spoke to

   Plaintiff’s subordinates and inquired if Plaintiff’s job was necessary.

39.On or about April 16, 2017, Plaintiff left his position as Chief Clerk to

   become Chief County Detective in the Susquehanna County District

   Attorney’s Office. Plaintiff would serve the dual role of Chief County

   Detective and Director of Public Safety.

40. Despite Plaintiff leaving the position of Chief Clerk, the harassment by

   Defendant Commissioners Arnold and Warren did not stop as they

   scrutinized Plaintiff’s office location, undermined his authority, and caused

   distress in Plaintiff’s new position.
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41. The harassment and retaliation suffered by Plaintiff was as a result of his

   defense of a protected person, Maggie McNamara, who was subjected to

   sexual harassment, retaliation, and harassment.

42.The harassment and retaliation suffered by Plaintiff was a result of his

   assistance and/or participation in an investigation, proceeding, and/or

   hearing regarding practices made unlawful by Title VII.

43.The harassment and retaliatory actions against Plaintiff by Defendant

   Commissioners Warren and Arnold increased upon Plaintiff notifying the

   Equal Employment Opportunity Commission.

44. Plaintiff left the position of Chief Clerk because he could no longer be

   subjected to the hostile work environment created by Defendant

   Commissioners Arnold and Warren.

                 COUNT I – TITLE VII/RETALIATION

                         Plaintiff v. All Defendants

45. All of the allegations contained in the foregoing paragraphs of this

   Complaint are incorporated herein by reference as if the same were set forth

   at length.

46. Pursuant to the provisions of Title VII, it is unlawful to retaliate against any

   individual because he has assisted and or participated in an investigation,

   proceeding, and/or hearing regarding practices made unlawful by Title VII.
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47. In assisting or participating in an investigation, proceeding, and/or hearing

   regarding practices made unlawful by Title VII, Plaintiff engaged in an

   activity protected under Title VII.

48. In retaliation for Plaintiff’s assistance and participation, Defendants

   subjected him to constant harassment regarding the performance and

   security of his job.

49.The conduct of Defendant has denied and continues to deny Plaintiff his

   civil rights guaranteed by Title VII.

50.The actions described herein were in violation of the civil rights of Plaintiff,

   occurred during the course of the Plaintiff’s employment with Defendant

   and were carried out by the Defendant and its agents, servants and

   employees.

51. As a direct and proximate result of the foregoing conduct, Plaintiff suffered

   damages.

52.The actions described herein, in violation of the civil rights of the Plaintiff,

   were committed by the Defendants because of Plaintiff’s assistance and

   participation in an investigation, proceeding, and/or hearing regarding

   practices made unlawful by Title VII, and have caused Plaintiff past and

   future economic and non-economic harm and damages.
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WHEREFORE, the Plaintiff, Robert Stoud, respectfully requires that this

Honorable Court enter judgment in his favor and against the Defendants and

enter an Order providing that:

   a. The Defendant has engaged in practices which are discriminatory and in

      violation of Title VII of the Civil Rights Act of 1964;

   b. The Defendant be enjoined from engaging in the harassment of its

      employees;

   c. The Defendant be enjoined from discriminating and retaliating against its

      employees on the basis of assistance and participation in an investigation,

      proceeding, and/or hearing regarding practices made unlawful by Title

      VII;

   d. The Defendant compensate, reimburse and/or pay back the Plaintiff for

      any and all pay and benefits he would have received had it not been for

      the Defendant’s illegal actions;

   e. The Defendant to pay Plaintiff compensatory damages including, but not

      limited to, pain, suffering, humiliation, mental anguish and emotional

      distress caused to him by Defendant’s acts and omissions;

   f. The Defendant to pay Plaintiff punitive damages;

   g. The Defendant to pay Plaintiff’s attorneys’ fees and costs of this action;
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   h. The Defendant to reinstate Plaintiff with all pay and benefits which he

      would have received if the wrongful acts alleged herein had not occurred;

      or if such an order is not feasible, that the Plaintiff be awarded front pay;

   i. This court retain jurisdiction over this action to ensure full compliance

      with the orders of this Court and with applicable laws and require

      Defendant to file such reports as this Court deems necessary to evaluate

      such compliance; and

   j. This Court order such other and further relief as may be just and

      equitable.

COUNT TWO – TITLE VII – DISCRIMINATION/HOSTILE WORK

                             ENVIRONMENT

                         Plaintiff v. All Defendants

53. All of the allegations contained in the foregoing paragraphs of this

   Complaint are incorporated herein by reference as if the same were set forth

   at length.

54. The actions and conduct of Defendants created an intimidating, hostile and

   offensive work environment based Plaintiff’s assistance or participation in

   an investigation, proceeding, and /or hearing regarding practices made

   unlawful by Title VII.
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55. Submission to Defendants’ intimidating, abusive and hostile behavior was

   made a condition of Plaintiff’s employment with Defendant.

56. The Plaintiff suffered intentional harassment because of his protected

   action.

57. The foregoing harassment would offend a reasonable person.

58. The foregoing harassment offended and had the purpose and effect of

   unreasonably interfering with Plaintiff’s work performance.

59. The foregoing harassment was severe, pervasive, and regular.

60. The harassment had detrimental effects on the Plaintiff.

61. The harassment would detrimentally affect a reasonable person in the same

   position.

62. Defendants knew or should have known of the intimidating, abusive and

   hostile conduct and should have taken prompt and appropriate remedial

   action to eradicate and prevent such behavior but failed to do so.

63. The conduct of the Defendants further violated Title VII in that:

      a. Defendants failed to investigate thoroughly and promptly the

         complaints of Plaintiff;

      b. Defendants failed to take appropriate remedial action to prevent the

         harassment and discrimination from continuing;
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      c. Defendants failed to disseminate a harassment policy and/or failed to

         enforce an appropriate harassment policy, thereby exhibiting a

         deliberate indifference to Plaintiff’s federally protected rights;

      d. Defendants failed to properly train and supervise its employees; and

      e. Defendants failed to take appropriate steps to stop discriminatory,

         abusive, hostile and retaliatory conduct.

64. The conduct of Defendants has denied Plaintiff his civil rights guaranteed

   under Title VII.

65. As a direct and proximate result of the foregoing conduct, Plaintiff suffered

   damages.

WHEREFORE, the Plaintiff, Robert Stoud, respectfully requires that this

Honorable Court enter judgment in his favor and against the Defendants and

enter an Order providing that:

   a. The Defendant has engaged in practices which are discriminatory and in

      violation of Title VII of the Civil Rights Act of 1964;

   b. The Defendant be enjoined from engaging in the harassment of its

      employees;

   c. The Defendant be enjoined from discriminating and retaliating against its

      employees on the basis of assistance and participation in an investigation,
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   proceeding, and/or hearing regarding practices made unlawful by Title

   VII;

d. The Defendant compensate, reimburse and/or pay back the Plaintiff for

   any and all pay and benefits he would have received had it not been for

   the Defendant’s illegal actions;

e. The Defendant to pay Plaintiff compensatory damages including, but not

   limited to, pain, suffering, humiliation, mental anguish and emotional

   distress caused to her by Defendant’s acts and omissions;

f. The Defendant to pay Plaintiff punitive damages;

g. The Defendant to pay Plaintiff’s attorneys’ fees and costs of this action;

h. The Defendant to reinstate Plaintiff with all pay and benefits which he

   would have received if the wrongful acts alleged herein had not occurred;

   or if such an order is not feasible, that the Plaintiff be awarded front pay;

i. This court retain jurisdiction over this action to ensure full compliance

   with the orders of this Court and with applicable laws and require

   Defendant to file such reports as this Court deems necessary to evaluate

   such compliance; and

j. This Court order such other and further relief as may be just and

   equitable.
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 COUNT THREE – PA HUMAN RELATIONS ACT/RETALIATION

                         Plaintiff v. All Defendants

66.All of the allegations contained in the foregoing paragraphs of this

   Complaint are incorporated herein by reference as if the same were set forth

   at length.

67. The unlawful employment practices herein stated constitute violations of

   the Pennsylvania Human Relations Act, 43 P.S. §955, et seq.

WHEREFORE, the Plaintiff, Robert Stoud, respectfully requires that this

Honorable Court enter judgment in his favor and against the Defendants and

enter an Order providing that:

   a. The Defendant has engaged in practices which are discriminatory and in

      violation of Title VII of the Civil Rights Act of 1964;

   b. The Defendant be enjoined from engaging in the harassment of its

      employees;

   c. The Defendant be enjoined from discriminating and retaliating against its

      employees on the basis of assistance and participation in an investigation,

      proceeding, and/or hearing regarding practices made unlawful by Title

      VII;
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d. The Defendant compensate, reimburse and/or pay back the Plaintiff for

   any and all pay and benefits he would have received had it not been for

   the Defendant’s illegal actions;

e. The Defendant to pay Plaintiff compensatory damages including, but not

   limited to, pain, suffering, humiliation, mental anguish and emotional

   distress caused to her by Defendant’s acts and omissions;

f. The Defendant to pay Plaintiff punitive damages;

g. The Defendant to pay Plaintiff’s attorneys’ fees and costs of this action;

h. The Defendant to reinstate Plaintiff with all pay and benefits which he

   would have received if the wrongful acts alleged herein had not occurred;

   or if such an order is not feasible, that the Plaintiff be awarded front pay;

i. This court retain jurisdiction over this action to ensure full compliance

   with the orders of this Court and with applicable laws and require

   Defendant to file such reports as this Court deems necessary to evaluate

   such compliance; and

j. This Court order such other and further relief as may be just and

   equitable.
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 COUNT FOUR – PA HUMAN RELATIONS ACT/HOSTILE WORK

                             ENVIRONMENT

                         Plaintiff v. All Defendants

68.All of the allegations contained in the foregoing paragraphs of this

   Complaint are incorporated herein by reference as if the same were set forth

   at length.

69. The unlawful employment practices herein stated constitute violations of

   the Pennsylvania Human Relations Act, 43 P.S. §955, et seq.

WHEREFORE, the Plaintiff, Robert Stoud, respectfully requires that this

Honorable Court enter judgment in his favor and against the Defendants and

enter an Order providing that:

   a. The Defendant has engaged in practices which are discriminatory and in

      violation of Title VII of the Civil Rights Act of 1964;

   b. The Defendant be enjoined from engaging in the harassment of its

      employees;

   c. The Defendant be enjoined from discriminating and retaliating against its

      employees on the basis of assistance and participation in an investigation,

      proceeding, and/or hearing regarding practices made unlawful by Title

      VII;
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d. The Defendant compensate, reimburse and/or pay back the Plaintiff for

   any and all pay and benefits he would have received had it not been for

   the Defendant’s illegal actions;

e. The Defendant to pay Plaintiff compensatory damages including, but not

   limited to, pain, suffering, humiliation, mental anguish and emotional

   distress caused to her by Defendant’s acts and omissions;

f. The Defendant to pay Plaintiff punitive damages;

g. The Defendant to pay Plaintiff’s attorneys’ fees and costs of this action;

h. The Defendant to reinstate Plaintiff with all pay and benefits which he

   would have received if the wrongful acts alleged herein had not occurred;

   or if such an order is not feasible, that the Plaintiff be awarded front pay;

i. This court retain jurisdiction over this action to ensure full compliance

   with the orders of this Court and with applicable laws and require

   Defendant to file such reports as this Court deems necessary to evaluate

   such compliance; and

j. This Court order such other and further relief as may be just and

   equitable.

                                        Respectfully Submitted:


                                        /s/ Gerard M. Karam, Esquire
                                        Gerard M. Karam, Esquire
                                        Atty. ID# PA 49625
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                                 /s/ Christopher J. Szewczyk, Esquire
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